Case 5:14-cv-05171-JLS Document 10 Filed 10/15/14 Page 1 of 22

Console Law Offices tic

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Moorestown, NJ 08057
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856.854.4006 fax

CAREN N. GURMANKIN
gurmankin@consolelaw.com

October 14, 2014

Via Hand Delivery

Clerk, United States District Court

for the Eastern District of Pennsylvania
U.S. Courthouse

601 Market Street, Room 2609
Philadelphia, PA 19106-1797

Re: John Gerundo v. AT&T, Inc. and AT&T Services, Inc.
Our File No. 3536
Civil Action No.: 14-5171

 

Dear Sir/Madam:
Enclosed for filing please find the following:
1) Plaintiff's Amended Complaint (O + 1);
2) a CD containing a .pdf copy of the amended complaint; and

3) a postage-paid return envelope

Thank you very much. Please call if you have any questions.

Sincerely,
CAREN N. GU NKIN

CNG:djs
Enc.
Case 5:14-cv-05171-JLS Document 10 Filed 10/15/14 Page 2 of 22

IN THE UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA

 

JOHN GERUNDO :
Macungie, PA 18062 : CIVIL ACTION NO.

Plaintiff, :  5:14-cv-05174-JLS

AT&T INC. ; JURY TRIAL DEMANDED
208 S. Akard Street :
Dallas, TX 75202

and

AT&T SERVICES, INC.
208 S. Akard Street
Dallas, TX 75202

Defendants. :

 

FIRST AMENDED COMPLAINT
I. INTRODUCTION
Plaintiff, John Gerundo, brings this action against his former employers,
AT&T Inc. and AT&T Services, Inc. (together “Defendants”). Mr. Gerundo was
discriminated against because of his age in violation of the Age Discrimination in
Employment Act, 29 U.S.C. §621, ef seq. (“ADEA”) and the Pennsylvania Human

Relations Act, as amended, 43 P.S. §951, et seq. (“PHRA’).

i. PARTIES
A. Plaintiff
1. Plaintiff, John Gerundo, is an individual and a citizen of the

Commonwealth of Pennsylvania.
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2. Plaintiff was sixty five (65) years of age at the time of his

termination.

3. At all times material hereto, Plaintiff worked out of his home in
Macungie, PA.

4. At all times material hereto, Plaintiff was an employee of

Defendants within the meaning of the statutes which form the basis of this
matter.

B. Defendants

5. Defendant, AT&T Inc. is a Delaware corporation with a principal
place of business at 208 S. Akard Street, Dallas, TX 75202.

6. Defendant, AT&T Services, Inc. is a Delaware corporation with a
principal place of business at 208 S. Akard Street, Dallas, TX 75202.

7. Defendant AT&T Inc. controls and directs certain of Defendant
AT&T Services, Inc.’s business operations and policies.

8. Employees of Defendant AT&T Inc. and employees of Defendant
AT&T Services, Inc. share the same email address, att.com. Upon information
and belief, Defendant AT&T Inc. controls, and has access to, electronic
communications of Defendant AT&T Services, Inc.

9. Upon Plaintiff's termination, Defendants provided him with a
General Release and Waiver AT&T Inc. Severance Pay Plan.

10. Upon Plaintiff's termination, Defendants provided him with an
Acknowledgement Of Obligations Of Terminating Employee Regarding

Intellectual and Other Property (“Acknowledgement”). Plaintiff signed the
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Acknowledgement, which read in part, “I have been reminded of the following
obligations | have to AT&T Inc., its affiliates, and subsidiaries (“AT&T”).

11. After Plaintiffs termination, he received a Notice of Enrollment for
the Consolidated Omnibus Budget Reconciliation Act (“COBRA”). The Notice
was from “AT&T” and referenced the “AT&T Benefits Center Web site” and the
“AT&T Benefits Center.”

12. | Defendants are engaged in an industry affecting interstate
commerce and regularly do business in the Commonwealth of Pennsylvania.

13. Atall times material hereto, Defendants employed more than
twenty (20) employees.

14. Atall times material hereto, Defendants acted by and through their
authorized agents, servants, workmen, and/or employees acting within the
course and scope of their employment with Defendants and in furtherance of
Defendants’ business.

15. At all times material hereto, Defendants acted as employers within
the meaning of the statutes which form the basis of this matter.

lll. JURISDICTION AND VENUE

16. | The causes of action which form the basis of this matter arise under
the ADEA and the PHRA.

17. The District Court has jurisdiction over Count | (ADEA) pursuant to
29 U.S.C. §626(c) and 28 U.S.C. §1331.

18. The District Court has jurisdiction over all counts pursuant to 28

U.S.C. §1332 since the amount in controversy in the present action exceeds the
Case 5:14-cv-05171-JLS Document 10 Filed 10/15/14 Page 5 of 22

sum or value of seventy five thousand dollars ($75,000), exclusive of interests
and costs, and there exists complete diversity of citizenship, as Plaintiff is a
citizen of the Commonwealth of Pennsylvania and Defendants are not citizens of
the Commonwealth of Pennsylvania.

19. The District Court has jurisdiction over Count II (PHRA) pursuant to
28 U.S.C. §1367.

20. Venue is proper in the District Court under 28 U.S.C. §1391(b).

21. Onor about June 12, 2013, Plaintiff filed a Charge of Discrimination
with the Equal Employment Opportunity Commission (“EEOC”), complaining of
acts of discrimination alleged herein. This Charge was cross-filed with the
Pennsylvania Human Relations Commission (“PHRC”). Attached hereto,
incorporated herein and marked as Exhibit “1” is a true and correct copy of the
EEOC Charge of Discrimination (with personal identifying information redacted).

22. Onor about June 27, 2014, the EEOC issued to Plaintiff a
Dismissal and Notice of Rights. Attached hereto, incorporated herein and
marked as Exhibit “2” is a true and correct copy of that notice (with personal
identifying information redacted).

23. Plaintiff has fully complied with all administrative prerequisites for
the commencement of this action.

IV. FACTUAL ALLEGATIONS

24. Plaintiff was hired by IBM Corporation in or around May 1970. He

was promoted several times, including into the newly created position of Service

Executive in or around 1997. In or around 1999, Defendants acquired the
Case 5:14-cv-05171-JLS Document 10 Filed 10/15/14 Page 6 of 22

division of IBM Corporation in which Plaintiff worked, and Plaintiff became an
employee of Defendants. At the time that Plaintiff was terminated, he had
approximately forty two (42) years of service with Defendants and their
predecessor.

25. When Plaintiff became an employee of Defendants, he retained his
Service Executive position, and he held that job until his termination. As a
Service Executive, Plaintiff was responsible for helping large, premium clients to
navigate Defendants’ systems and processes, and to manage their maintenance,
orders and billing issues. For approximately the last three (3) years of his
employment, Plaintiff managed Defendants’ Fiserv account, a very significant,
high-volume account, and one of Defendants’ largest accounts.

26. Atall times material hereto, Plaintiff performed his job duties in a
highly competent manner. By way of example only, Plaintiff's last performance
review, which he received in or about February 2013, included the following
comments:

(a) “Jack continues his good work in support of Fiserv. He is on
the front line every day either at the client’s location in Philly or from his office
working tickets. His client respects the value that Jack provides them while
working their issues”;

(b) “Jack has done a good job of building relationships up and
down at Fiserv. They value what he does for them. They also provide him with
information about what is really going on’;

(c) “Jack’s strengths are in working with different work groups at
Case 5:14-cv-05171-JLS Document 10 Filed 10/15/14 Page 7 of 22

AT&T and Fiserv. He knows how to get different groups to work as a team”; and,

(d) “Jack continued through 2012 as the primary contact for
Fiserv’s ticket escalations, which take time and energy, and often bleed into the
evening and weekend hours. With so many varying business units and contacts,
it can be challenging to keep everyone happy. Jack works very diligently to do
that, and knows who the key constituents are... The good news is that we are
adding headcount to the team, and during 2013 Jack will have more opportunity
shine. Dividing up his current duties with other team members will allow us to
use Jack’s strengths to greater success with the client.”

27.  Inor around Fall 2012, Ms. Roth questioned Plaintiff regarding his
retirement plans. Plaintiff told Ms. Roth that he had no plans to retire.

28. Near the end of 2012, Defendants transferred other, substantially
younger, less qualified employees to work on the Fiserv account on which
Plaintiff had focused for approximately three (3) years prior to his termination. At
that time, Plaintiff was instructed to train those employees regarding the account.

29. Onor about March 1, 2013, Ms. Roth informed Plaintiff that he was
being “surplussed,” and that his employment would be terminated effective April
30, 2013.

30. Ms. Roth also told Plaintiff that he should not be surprised if
Defendants added another Service Executive to work on the same account to
which he had been assigned for the past approximately three (3) years.

31. Onthe same day that Ms. Roth informed Plaintiff that he would be

terminated, he received a letter from Defendants advising him that his position
Case 5:14-cv-05171-JLS Document 10 Filed 10/15/14 Page 8 of 22

had been eliminated and that, as a result, he would be placed on “surplus
status.”

32. | Upon information and belief, Plaintiff, age sixty five (65), was the
oldest of Ms. Roth’s direct reports, and he was one (1) of only two (2) employees
selected for termination. Other younger, less qualified employees were retained.

33. | Defendants’ asserted reason for terminating Plaintiff's employment
was pretextual.

34. Plaintiff's age was a motivating and determinative factor in
connection with Defendants’ discriminatory treatment of Plaintiff, including
Defendants’ termination of Plaintiff's employment.

35. Asa direct and proximate result of the discriminatory conduct of
Defendants, Plaintiff has in the past incurred, and may in the future incur, a loss
of earnings and/or earning capacity, loss of benefits, pain and suffering,
embarrassment, humiliation, loss of self-esteem, mental anguish, and loss of
life’s pleasures, the full extent of which is not known at this time.

COUNT 1 - ADEA

36. Plaintiff incorporates herein by reference paragraphs 1 through 35
above, as if set forth herein in their entirety.

37. By committing the foregoing acts of discrimination against Plaintiff,
Defendants have violated the ADEA.

38. Said violations were willful and warrant the imposition of liquidated

damages.
Case 5:14-cv-05171-JLS Document 10 Filed 10/15/14 Page 9 of 22

39. Asadirect and proximate result of Defendants’ violation of the
ADEA, Plaintiff has suffered the damages and losses set forth herein and has
incurred attorney’s fees and costs.

40. Plaintiff is now suffering and will continue to suffer irreparable injury
and monetary damages as a result of Defendants’ discriminatory acts unless and
until this Court grants the relief requested herein.

41. No previous application has been made for the relief requested
herein.

COUNT II - PHRA

42. Plaintiff incorporates herein by reference paragraphs 1 through 41
above, as if set forth herein in their entirety.

43. Defendants, by the above improper and discriminatory acts, have
violated the PHRA.

44. Said violations were intentional and willful.

45.  Asadirect and proximate result of Defendants’ violation of the
PHRA, Plaintiff has sustained the injuries, damages, and losses set forth herein
and has incurred attorney’s fees and costs.

46. Plaintiff is now suffering and will continue to suffer irreparable
injuries and monetary damages as a result of Defendants’ discriminatory acts
unless and until the Court grants the relief requested herein.

47. No previous application has been made for the relief requested

herein.
Case 5:14-cv-05171-JLS Document 10 Filed 10/15/14 Page 10 of 22

RELIEF
WHEREFORE, Plaintiff seeks damages and legal and equitable relief in
connection with Defendants’ improper conduct, and specifically prays that the
Court grant the following relief to the Plaintiff by:

(a) declaring the acts and practices complained of herein to be
in violation of the ADEA;

(b) declaring the acts and practices complained of herein to be
in violation of the PHRA;

(c) enjoining and permanently restraining the violations alleged
herein;

(d) — entering judgment against the Defendants and in favor of the
Plaintiff in an amount to be determined:

(e) awarding compensatory damages to make the Plaintiff whole
for all lost earnings, earning capacity and benefits, past and future, which Plaintiff
has suffered or may suffer as a result of Defendants’ improper conduct:

(f) awarding compensatory damages to Plaintiff for past and
future pain and suffering, emotional upset, mental anguish, humiliation, and loss
of life’s pleasures, which Plaintiff has suffered or may suffer as a result of
Defendants’ improper conduct;

(g) awarding liquidated damages to Plaintiff under the ADEA;

(h) awarding Plaintiff such other damages as are appropriate

under the ADEA and the PHRA;
Case 5:14-cv-05171-JLS Document 10 Filed 10/15/14 Page 11 of 22

(i) awarding Plaintiff the costs of suit, expert fees and other
disbursements, and reasonable attorneys’ fees; and,

(j) granting such other and further relief as this Court may deem
just, proper, or equitable including other equitable and injunctive relief providing

restitution for past violations and preventing future violations.

CONSOLE LAW OFFICES LLC

Dated: 10/14/14 BY: : MAC

Stephen G. Con (36656)
Caren N. Gur in (205900)
1525 Locust St., 9" Floor
Philadelphia, PA 19102

(215) 545-7676

(215) 565-2853 (fax)

Attorneys for Plaintiff,
John Gerundo

10
Case 5:14-cv-05171-JLS Document 10 Filed 10/15/14 Page 12 of 22

EXHIBIT “1”

 
 

 

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CHARGE OF DISCRIMINATION

This form is affected by the Privacy Act of 1974; See privacy statement before

consolidating this form.

AGENCY
Q FEPA
X EEOC

CHARGE NUMBER

TIO Lh S- LAVA

 

STATE OR LOCAL AGENCY: PHRC

 

 

NAME (Indicate Mr., Ms., Mrs.)
John Gernndo

STREET ADDRESS

 

 

Macungie, PA 18062

CITY, STATE AND ZIP

HOME TELEPHONE NUMBER (Include Area Code)

 

DATE OF BIRTH

 

 

NAMED IS THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT
STATE OF LOCAL GOVERNMENT WHO DISCRIMINATED AGAINST ME di

AGENCY, APPRENTICESHIP, COMMITTEE,

 

 

 

 

Pmore than one than list below)
NAME NUMBER OF EMPLOYEES, TELEPHONE (Include Area Code)
AT&T Inc. MEMBERS (866) 878-5865
AT&T Services, tne. >20
STREET ADDRESS CITY, STATE AND ZIP COUNTY
Charging Party’s Work Location
2199 Autumn Ridge Road Macungie, PA 18062 Lehigh
Corporate Headquarters
208 S. Akard Street Dallas, TX 75202 Dallas

 

 

CAUSE OF DISCRIMINATION (Check appropriate box(es)
QRace OColor QSex Religion National Origin
QRetaliation XAge QDisnbility Other (Specify)

DATE DISCRIMINATION TOOK PLACE

Earliest Latest 03/01/2013

 

 

The Particulars Are:

A. 1. Relevant Work History

tm
ca

{was hired by Respondents an or about May 1, 1999 a8 a Service Executive. Since in or about June 20171 reporied

directly to Renee Roth, Director, Service Management.

For the past approximately three
significant, high-volume account,

Ms. Roth reported to Gary Jordan, Area Vice Prasifent. Br

“

t

(3) years, | was the most senior employee managing the Fiserv account, a yery_.. :

U de
re) co mn

on
oO .
we)

 

X T want this charge tiled with both the EEOC and the State or lucat Agency,
ifany. | will udvise the agencies if | change my address or telephone number
and cooperate fully with thet in the processing of my charge in accordance

with their procedurcs

NOTARY ~ (when necessary for Statc and Local Requirements)

 

| swear of affirm that } have read the above charge and that it is uc
to the best of my knowledge informasion and belief.

 

 

I declare under penalty or perjury that the foregoing is true and correct.

 

2/243 bh we

ff i
Date: UY ging Pesty (Signaty

of

 

WVHATURE OF COMPUAITIALIT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
(Day Month, and year)

 

 

 
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EEOC Charge of Discrimination
Page 2 of 3
Initials of Charging Party —

| consistently demonstrated excellent performance and dedication to Respondents. During my
employment with Respondents, | consistently handled very high-volume, significant accounts. Also, | was

given my most recent performance review in or about February 2013 in which | received feedback that
included the following:

(a)

(b)

(c)

(d)

(e)

“Jack continues his good work in support of Fiserv. He is on the front line every day
either at the client's location in Philly or from his office working tickets. His client
respects the value that Jack provides them while working their issues’:

"Jack has reestablished stewardship at the Executive level. Every month a Fiserv VP
~ Ken Windfelder joins the call, Ken has been very complementary (sic) of the

information that is provided. During recent talks about new SLA’s Ken made clear he
likes what he is getting in his reports”;

“Jack has done a good job of building relationships up and down at Fiserv. They

value what he does for them. They also provide him with information about what is
really golng on’:

“Jack's strengths are in working with different work groups at AT&T and Fiserv. He
knows how to get different groups to work as a team”: and,

“Jack continued through 2012 as the primary contact for Fleerv's ticket escalations,
which take time and energy, and often bleed into the evening and weekend hours.
With so many varying business unite and contacts, it can be challenging to keep
everyone happy. Jack works very diligently to do that, and knows who the key
constituents are... The good news is that we are adding headcount to the team, and
during 2013 Jack will have more opportunity shine. Dividing up his current duties

with other team members will allow us to use Jack's Strengths to greater success with
the client.”

2. Harm Summary

| believe that Respondents have discriminated against me because of my age. Evidence of
discriminatory conduct includes, but is not limited to, the following:

a)

b)

0)

On or about March 14, 2013, Ms. Roth called me and told me that | was

“surplussed” and that my employment would be terminated effective April 30,
2013;

After Ms. Roth informed me that my employment was going to be terminated, she
told me that | should not be surprised if Respondents added another Service
Executive to work on the Fiserv account. Based on her statement, as well as the
tact that the Fiserv account was growing, | told Ms. Roth that terminating me did
not make sense, Her only response was that “it's just statistics”;

On that same day, | received a letter from Respondents stating that they had
determined that my position would be eliminated and that, as a result, | would be
placed on “surplus status’;

KESPONGENTS Never Informed me OF the critena mat they Used to determine whicn
employees would be terminated and which would be retained;

 
Case 5:14-cv-05171-JLS Document 10 Filed 10/15/14 Page 15 of 22

EEOC Charge of Discrimination
Page 3 of 3
Initials of Charging Party —

e) After the notification of my termination, | applied for a lower-level position, for
which | was qualified, with Respondents. No one at Respondents ever got back

to me regarding the same and | was not selected, or even interviewed, for the
position;

f) Respondents’ conduct and demographics evidence a bias against older
employees, Evidence of this includes, but is not limited to, the following:

(1) 1 was one (1) of eleven (11) Service Executives reporting to Ms. Roth

and upon information and belief, | was one (1) of the oldest, if not the
oldest;

(2) Upon information and belief, the only two (2) employees terminated from
Ms. Roth's group, including me, were among the oldest in that group:

(3) In or about November 2012, two (2) employees, both of whom were

substantially younger and less qualified than | am, were transferred into
Ms. Roth’s group to work on the Fiserv account: and,

(4) All of the other employees who worked on the Fiserv account, all of

whom were retained, were substantially younger, and less qualified, than
| was.

B. 1. Reapendents' Stated Reasons

(a) Respondents have not offered legitimate, non-discriminatory reason for eliminating
my position and terminating my employment; and,

(b) Respondents have not offered a legitimate, non-discriminatory reason for falling to
hira me into a position for which { was qualified after my termination,

C. 1. Statutes and Basis for Allegations

| believe that Respondents have discriminated against me based on my age in violation
of the Age Discrimination in Employment Act, 29 U.S.C. §621, et seq. ("ADEA") and the

Pennsylvania Human Relations Act, as amended, 43 P.S. § 951, at seq. ((PHRA’), as set
forth herein.

 
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INFORMATION FOR COMPLAINANTS & ELECTION OPTION
TO DUAL FILE WITH THE
PENNSYLVANIA HUMAN RELATIONS COMMISSION

John Gerundo v. AT&T, Ine. et al.
EEOC No.

You have the right to file this charge of discrimination with the Pennsylvania Human Relations

Commission (PHRC) under the Pennsylvania Human Relations Act. Filing your charge with PHRC

protects your state rights, especially since there may be circumstances in which state and federal laws
and procedures vary in a manner which would affect the outcome of your case,

dismissed,

Complaints filed with the PHRC must be filed within 180 days of the act(s) which you believe are
unlawful discrimination. If PHRC determines that your PHRC complaint is untimely, it will be

If you want your charge filed with the PHRC, including this form as part of your EEOC charge, with
your signature under the verification below, will constitute filing with the PHRC. You have chosen
EEOC to investigate your complaint, so PHRC will not investigate it and, in most cases, will accept

EEOC’s finding. If you disagree with PHRC’s adoption of EEOC’s finding, you will have the chance to
file a request for preliminary hearing with PHRC.

Since you have chosen to file your charge first with EEOC, making it the primary investigatory agency,

the Respondent will not be required to file an answer with PHRC, and no other action with PHRC is
required by either party, unless/unti! otherwise notified by PHRC.

If your case is still pending with PHRC after one year from filing with PHRC, you have the right to file
your complaint in state court. PHRC will inform you of these rights and obligations at that time.

{Sign and date appropriate request below]

_X_ I want my charge filed with PHRC. I hereby incorporate this form and the verification below into
the attached EEOC complaint form and file it as my PHRC complaint. 1 request EEOC to transmit it to
PHRC.

X

 

1 understand that false statements in this complaint are made subject to the penalties of 18
PaCS. $4904, relating to unsworn falsification to authorities,

x A Ko Cfuntle Gf2faars ar

ature and Datd/
Ido not want my charge dual filed with PHRC

Con

——

 

Signature and Date

 
Case 5:14-cv-05171-JLS Document 10 Filed 10/15/14 Page 17 of 22

EXHIBIT “2”

 
Case 5:14-cv-05171-JLS Document 10 Filed 10/15/14 Page 18 of 22

 

 

EEOC Form 181-8 (11/09) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
NOTICE OF RIGHT TO SUE (/SSUED ON REQUEST)
To: John Gerundo From: Philadetphta District Office
801 Market Street
Macungle, PA 18062 Suite 1300

Philadelphia, PA 19107

[] on behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))

 

EEOC Charge No. EEOC Representative Telephone No.

530-2013-02962 Legal Unit (215) 440-2828

(See also the additional information enclosed with this form. )
NOTICE TO THE PERSON AGGRIEVED:

Title Vit of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title Vil, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title Vil, the ADA or GINA must be filed In a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
State law may be different.)

More than 180 days have passed since the filing of this charge.

Less than 180 days have passed since the filing of this charge, but | have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge.

The EEOC is terminating its processing of this charge.

OU OU

The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until

90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:

The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

[_] The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

if you file suit, based on this charge, please send a copy of your court complaint to this office.

 

 

On
bbalid
Enclosures(s) Spencer H. Lewis, Jr., " (Date Mailed)
District Director
ce: Cherry Tomezezyn Caren Gurmankin, Esq.
Senior Consultant EEO CONSOLE LAW OFFICES
AT&T SERVICES, INC 1525 Locust Street, 9th Floor
208 South Akard Street, Suite 2210.14 Philadelphia, PA 19102

Dallas, TX 75202
Case 5:14-cv-05171-JLS Document 10 Filed 10/15/14 Page 19 of 22

JS 44 (Rev. 11/04)

The JS 44 civil cover sheet and the information contained hercin neither replace nor su
by local rules of court. This form, approved by the Judicial Conference of the United
the civil docket shect. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS

John Gerundo

(b) County of Residence of First Listed Plaintiff Lehigh a

CIVIL COVER SHEET

 

(EXCEPT IN U.S. PLAINTIFF CASES)

Caren N. Gurmankin, Esquire

(c) Attorney's (Firm Name, Address, and Telephone Number) Console Law Offices LLC

(215) 545-7676

1525 Locust Street
9th Floor
Philadelphia, PA 19102

 

DEFENDANTS
AT&T, inc. and AT&T Services, Inc.

Attomcys (If Known)

plement the filing and service of pleadings or other papers as
tates in September 1974, is required for the fe

ecuse oft

County of Residence of First Listed Defendant

APPENDIX H

uired by law, except as provided
¢ Clerk of Court for the purpose of initiating

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

 

IL. BASIS OF JURISDICTION

(Place an “X” in One Box Only)

 

 

 

I. CITIZENSHIP OF PRINCIPAL PARTIES¢Piace an“X" in One Box for Plaintiff

 

 

 

 

 

 

 

 

 

 

 

(For Diversity Cases Only) and One Box for Defendant)
Ol — U.S. Govemment x 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State M1 © Ef Incorporated or Principal Place O«4 ga
of Business In This State
02 US. Govemment O 4 Diversity Citizen of Another State O02 GO 2 Incorporated and Principul Place O5 35
Defendant (Indicate Citizenship of Parties in ltem IL) of Business In Another State
Citizen or Subject of a O03 O 3- Foteign Nation O06 O06
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only)
| CONTRACT. TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
© 110 Insurance PERSONAL INJURY PERSONAL INJURY |0 610 Agriculture ©) 422 Appeal 28 USC 158 O 400 State Reapportivament
O 120 Marine O 310 Airplane O 362 Personal Injury - GB 620 Other Food & Drug O 423 Withdrawal OD 410 Antitrust
C1 130 Miller Act C315 Airplane Product Med. Malpractice O 625 Drug Related Seizure 28 USC 157 OG 430 Banks and Banking
C1 140 Negotiable Instrument Liability G1 365 Personal Injury - of Property 21 USC 881 450 Commerce
© 150 Recovery of Overpayment |(J 320 Assault, Libel & Product Liability GO 630 Liquor Laws IGR 460 Deportation
& Enforcement of Judgment Slonder O 368 Asbestos Personal [1 640 R.R. & Truck CO) 820 Copyrights O 470 Racketeer Influenced and
O 151 Medicare Act O 330 Federal Employers' Injury Product OC 650 Airline Regs. © 830 Patent Corrupt Organizations
© 152 Recovery of Defaulted Liability Liability © 660 Occupational O 840 Trademark O 480 Consumer Credit
Student Loans 0 340 Marine PERSONAL PROPERTY Safety/Health O 490 Cable/Sa TV
(Excl. Veterans) © 345 Marine Product © 370 Other Fraud 0690 Other O 810 Selective Service
C153 Recovery of Overpayment Liability © 37) Tnuth in Lending LABOR S ECURITY O 850 Securities/Commodities/
of Veteran's Benefits {1 350 Motor Vehicle © 380 Other Personal 0 710 Fair Labor Standards O 86t HIA (1395ff) Exchange
O 160 Stockholders’ Suits O 355 Motor Vehicle Property Damage Act O 862 Black Lung (923) O 875 Customer Challenge
CO 190 Other Contract Product Liabitity 1 385 Property Damage O 720 LaborfMgmt. Relations |( 863 DIWC/DIWW (405(g)) 12 USC 3410
© 195 Contract Product Liability | 360 Other Personal Product Liability OG 730 Labor/Mgmt.Reporting |{) 864 SSID Title XVI O 890 Other Statutory Actions
O 196 Franchise In| & Disclosure Act 0 865 RSI (405(2)) © 891 Agricultural Acts
[ REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |( 740 Railway Labor Act FEDERAL TAX SUITS O s92£ ic Stabilization Act
O 210 Land Condemnation O 441 Voting 510 Motions to Vacate |O 790 Other Labor Litigation [C870 Taxes (U.S. Plaintiff © 893 Environmental Matters
O 2260 Foreclosure x 442 Employment Sentence O 791 Empl. Ret. Inc. or Defendant) O 894 Energy Allocation Act
O 230 Rent Lease & Ejectment |) 443 Housing/ Habeas Corpus: Security Act O 871 IRS—Third Party O 895 Freedom of Information
GO 240 Torts to Land Accommodations GO 530Gencral 26 USC 7609 Act
CO 245 Tort Product Liability O 444 Welfare O 535 Deuth Penalty O 900Appeal of Feo Determination
© 290 All Other Real Property | (J) 445 Amer. w/Disabilities - | 540 Mandamus & Other Under Equal Access
Employment GO 550 Civil Rights to Justice
OO 446 Amer, w/Disabilities- | 555 Prison Condition C1 950 Constitutionality of
Other State Statutes
440 Other Civil Rights

 

 

 

V. ORIGIN (Place an “X" in One Box Only) Appeal to District
| _. 4 O03 4... (0 5 Transferred from ¢q ¢ vaca, (0 7 Judge from
R Original Removed from Remanded from Reinstated or another district Multidistrict Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment
] Statute under which you are filin

VI. CAUSE OF ACTION

VII. REQUESTED IN

Cite the U.S, Civi
29

 

O) CHECK IF THIS IS A CLASS ACTION

U.S.C. §621, et seq. (“ADEA"

ief description of cayse:
Bue sit is alleging age discrimination

DEMAND $

, (Do not cite jurisdictional statutes unless diversity):

CHECK YES only if demanded in complaint:

 

 

 

 

 

COMPLAINT: UNDER F.R.C,P. 23 in excess of $75,000 JURY DEMAND: iM Y¥cs ONo
VIII. RELATED CASE(S) ; a
UF ANY na (See instructions): UngE DOCKET NUMBER

DATE SIGNATURE OF ATTORNEY OF RECORI

September 9, 2014 Kile
FOR OFFICE USE ONLY . :

OR OFFICE Caren N. Guprhankin, Esquire
RECEIPT # AMOUNT APPLYING IFP ¢ JUDGE MAG. JUDGE

 

es
Case 5:14-cv-05171-JLS Document 10 Filed 10/15/14 Page 20 of 22

UNITED STATES DISTRICT COURT APPENDIX F
FOR THE EASTERN DISTRICT OF PENNSYL VANIA — DESIGNATION FORM to be used by cuunsel to indicate the category of Ure case fur the purpose of
assignment to appropriate calendar.

Address of Plains John Gerundo, Macungie, PA 18062

Ada _ AT&T, Inc. and AT&T Services, Inc. 208 S. Akard Street, Dallas, TX 75202
ress of Defendant:

Place of Accident, Incident or Transaction:
(Use Reverse Side For Additional Space}

 

Docs this civil action involve a nongovernmental corporate party with any parent corporation and ary publicly held corporation owning 10% or more of its stock?

(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7. 1(a)) YesO Nol

 

Does this case involve multidistrict litigation possibilities? YesU) NoL&
RELATED CASE, IF ANY:

Case Number: Judge Date Terminated:

 

Civil cases are deemed related when yesis answered to any of the following questions:

1. is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?

Yes Nobt
2 Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within. one year previously terminated
action in this court? Yes] Nod)

3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously

terminated action in this court? Yes] NoM

 

CIVIL: Place Vv in ONE CATEGORY ONLY)

A. Federal Question Cases: B, Diversity Jurisdiction Cases:
10 Indemnity Contract, Marine Contract, and All Other Contracts 1. © tasurance Contract and Other Contracts
2, O FELA 20 Airplane Personal Injury
3. © Jones Act-Personal Injury 30 Assault, Defamation
4. 0 antitrust 4, O Marine Personal Injury
5, 0 Patent 5. UO Motor Vehicle Personal Injury
6 O Labor-Management Relations 6. © other Personal Injury Please specify)
7. © civit Rights 7. O Products Liability
3, CD Habeas Corpus 8. OF Products Liability — Asbestos
9. C] Secursties Act(s) Cases 9. 0 All other Diversity Cascs
10. O Social Security Review Cases (Please specify)
om O All other Federal Question Cases
(Please specify)

ARBITRATION CERTIFICATION
. . (Check appropriate Category)
1_ Caren N. Gurmankin. Esquire _. counsel of record do hereby certify:
mM Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs;

i Relief other than monetary damages is sought.

Sept. 9, 2014

DATE:

205900

Attomey-at-Law Attomey I D.#

 

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P, 38.

 

T certify that, to my knowledge, the within caso is not related to any case now pending or within ongyear previously terminated action in this court
except as noted above.

oo «fF fA 3 a
pate, DePt. 9, 2014 Le LVLEFO _
Caren N. Gurmaftkin, Esquire

 
Case 5:14-cv-05171-JLS Document 10 Filed 10/15/14 Page 21 of 22

APPENDIX I

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

John Gerundo CIVIL ACTION

v. Plaintiff,

AT&T Services, Inc., et al. ; NO.
Defendant.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a case Management Track Designation Form in all civil cases at the tme of
filing the complaint and serve a copy onall defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a case management track designation form specifying the track to

which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

 

 

(a) Habeas Corpus — Cases brought under 28 U.S.C. §2241 through §2255. ()
(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits ()
(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )
(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ()
(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.) ( )
(f) Standard Management — Cases that do not fall into any one of the other tracks. (xX)
Sept. 9, 2014 Caren N. Gurmankin. Esquire Plaintiff, John Gerundo
Date Attorney-at-law Attorney for Plaintiff
(215) 545-7676 - gurmankin@consolelaw.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02

 
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNS YLVANIA

CONSENT TO RECEIVE NOTICE OF ORDERS AND JUDGMENTS IN CIVIL AND
CRIMINAL CASES BY MEANS OF FACSIMILE TRANSMISSION

AND WAIVER OF PROVISIONS OF FED.RCIV.P. 77(d) OR FED.R. CRIM.P. 49(c)
PROVIDING FOR SAID NOTICE BY MEANS OF MAIL

TO THE CLERK OF COURT:

I hereby waive the provisions of Fed.R.Civ.P. 77(d) or Fed.R.Crim.P. 49(c)
providing for notice of the entry of Orders or Judgments by mail in the manner provided by
Fed.R.Civ.P. 5 or Fed.R.Crim.P. 49(c), and consent that notice may be given to me, in all pending
and future civil or criminal cases in which I enter my appearance, by the Clerk of Court by
facsimile in lieu of notice by means of mail. I understand that this form, when executed, will serve
as Notice to and Authorization for the Clerk of Court to keep this information on file for all
pending and future civil or criminal cases in which I enter my appearance.

I hereby confirm, by execution of this form, that I understand that it is my
responsibility to notify the Clerk of Court, in writing, of my current address and facsimile number.

Caren N. Gurmankin, Esquire 205900
Name (Printed) Bar Id Number
Console Law Offices LLC

1525 Locust Street, 9th Floor
Philadelphia, PA 19012

 

 

Address (Printed) Telephone Number
Address (Printed) FAX Number

vO) 4 AR ORO
( WE / September 9, 2014

 

Signature J/ ~ Date
“

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